                   Case 1:13-cr-00103-DAD-BAM Document 90 Filed 02/13/15 Page 1 of 1
                                                  United States District Court
                                            EASTERN DISTRICT OF CALIFORNI
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                  United States of America                                     )                                  QV -----m:f:;:ff~+\:-::__-
                             vs.                                               )    Case No.1: 13CROOI03-002
                     Ali Nabil Mosarah                                         )
                                                                               )


                       CONSENT TO MODIFY CONDITIONS OF RELEASE
I,      Ali Nabil Mosarah         ,have discussed with _ _ _.; ; ;L.....Y..; ;.d; ;.; ia;. .:J;. ...:. . ;: S. .:;.e=IT;,.:. ;a; ;.; no"'--___ , Pretrial Services
Officer, modifications of my release conditions as follows:

Removing from my conditions ofrelease the condition that pertains to Home Detention and Location Monitoring,
7(t).

All other previously ordered conditions of release not in conflict with this change remain in full force and effect.




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                                                     ate
                                                                                                                                             ~-0/D
                                                                                                                                             Date
                                                                                                  Lydia 1. Serrano

I have re . wed the conditions and concur                          at this modification is appropriate.


                                                                                                                            Date             ,



         n""",... ,,,p the ccnditions vlith my client and concur that this modifi;;atioll is appropriate.


Signa    of Defense Counsel
Roger Dale Wilson


                                                              ORDER OF THE COURT                                                     I
~ The above modification of conditions of release is ordered, to be effective on -b(J,4-f/-'1__.. . . ,. . . . :/.c. . . . . .~o<. . -_ __
D The above modification of conditions of release is not ordered.
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cc:       U.S. Attorney's Office, Defense Counsel, Pretrial Services
